

Matter of Mares (2020 NY Slip Op 05564)





Matter of Mares


2020 NY Slip Op 05564


Decided on October 8, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 8, 2020

PM-127-20

[*1]In the Matter of John Franklynn Mares, an Attorney. (Attorney Registration No. 4224598.)

Calendar Date: October 5, 2020

Before: Egan Jr., J.P., Lynch, Mulvey, Devine and Aarons, JJ.


John Franklynn Mares, Rio Rancho, New Mexico, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
John Franklynn Mares was admitted to practice by this Court in 2004 and lists a business address in the Village of Lansing, Tomkins County with the Office of Court Administration. Mares now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion as to Mares' application.
Upon reading Mares' affidavit sworn to March 30, 2020 and filed April 22, 2020, and upon reading the September 29, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Mares is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Mulvey, Devine and Aarons, JJ., concur.
ORDERED that John Franklynn Mares' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that John Franklynn Mares' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that John Franklynn Mares is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mares is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that John Franklynn Mares shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








